     Case 6:18-ap-01089-MH          Doc 57 Filed 02/26/19 Entered 02/26/19 14:24:08               Desc
                                     Main Document    Page 1 of 1

 1

 2

 3                                                                      FILED & ENTERED
 4
                                                                              FEB 26 2019
 5

 6                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY cargill    DEPUTY CLERK
 7

 8

 9                            UNITED STATES BANKRUPTCY COURT
10              CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
11
      In re                                                 Case No.: 6:16-30625 MH
12
      JOHN MARTIN MATA                                      Adversary No.: 6:18-01089 MH
13    LIVIER MATA,
                                                            Chapter 7
14                                    Debtor(s).
      _______________________________________               ORDER CONTINUING HEARING ON
15                                                          MOTION FOR SUMMARY JUDGMENT;
                                                            and STATUS CONFERENCE
16    JOHN M. MATA,
17                                            Plaintiff,    Date:       March 27, 2019
         vs.                                                Time:       2:00 p.m.
18                                                          Ctrm:       303
      NATIONAL COLLEGIATE
19
      STUDENT LOAN TRUST 2006-1, et
20
      al.,

21                                         Defendants.

22

23             IT IS HEREBY ORDERED that, on the Court's own motion, the hearing on the Motion for

24   Summary Judgment and related Status Conference, currently set for February 27, 2019, at 2:00 p.m. in

25   the above-captioned case are continued to March 27, 2019, at 2:00 p.m. in Courtroom 303, of the

26   above-captioned Court.
                                                      ###
27
          Date: February 26, 2019
28




                                                       -1
